
662 S.E.2d 558 (2008)
Eleanor PEGG
v.
Ervin JONES, et al.
No. 9A08.
Supreme Court of North Carolina.
April 30, 2008.
James E. Tanner, III, John T. Stewart, Chapel Hill, for Ervin Jones.
Sydenham B. Alexander, Jr., Chapel Hill, Meg K. Howes, for Eleanor Pegg.
The following order has been entered on the consent motion filed on the 28th day of April 2008 by Defendant (Ervin Jones) to Amend Record on Appeal:
"Motion Allowed by order of the Court in conference this the 30th day of April 2008."
HUDSON, J., recused.
